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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

TIMOTHY ROOKER                                                                      PLAINTIFF

v.                                                                           No. 3:20CV48-DAS

DEPUTY TERRY DOWTY, JR.                                                           DEFENDANT


                                     FINAL JUDGMENT

       In accordance with the memorandum opinion entered this day, the defendant’s motion to

dismiss is GRANTED, and the instant case is DISMISSED with prejudice for failure to state a claim

upon which relief could be granted, counting as a “STRIKE” under 28 U.S.C. § 1915(g).

       SO ORDERED, this, the 20th day of October, 2021.


                                                    /s/ David A. Sanders
                                                    DAVID A. SANDERS
                                                    UNITED STATES MAGISTRATE JUDGE
